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                                                      Counsel to Willie Jamar Nobles, individually
                                                      and as administrator of the estate of Jamar
                                                      Willie Nobles, Diana Wilson, as administratix
                                                      of the estate of Rasheedah Wilson and in her
                                                      own right, and Maurice Butts, as administrator
                                                      of the estate of Rasheed Wilson.
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